                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


     CHRISTOPHER WOODARD,                           )
                                                    )
           Plaintiff,                               )
                                                    )
     v.                                             )
                                                    )       Case No. 3:20-cv-00148
     CITY OF MURFREESBORO,                          )       Judge Aleta A. Trauger
     CITY MANAGER CRAIG TINDALL, in                 )
     his official capacity and individually,        )
     CHIEF OF POLICE MICHAEL                        )
     BOWEN, in his official capacity and            )
     individually, and SGT. MARJA                   )
     ATCHLEY, in her official capacity and          )
     individual,                                    )
                                                    )
           Defendants.


                                         MEMORANDUM

          Before the court are two Motions to Dismiss, the first (Doc. No. 25) filed by defendant

Marja Atchley, seeking dismissal of the claims asserted against her in her individual capacity, and

the second (Doc. No. 30) filed on behalf of the remaining defendants: City of Murfreesboro, City

Manager Craig Tindall in both his official and individual capacities, Chief of Police Michael

Bowen in his official and individual capacities, and Atchley in her official capacity (collectively

referred to herein as “the City Defendants”). For the reasons set forth herein, both motions will be

granted, and this case will be dismissed in its entirety.

I.        FACTUAL BACKGROUND

          The sixty-eight page Complaint and the thirty-nine exhibits attached thereto together lay




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out in exhaustive detail the facts supporting the plaintiff’s claims. 1 The court summarizes the

relevant facts as gleaned from those documents.

       The plaintiff was employed as a police officer with the City of Murfreesboro Police

Department (“MPD”) from May 2011 until his termination in August 2019. His immediate

supervisor, at all relevant times, was defendant Atchley, a sergeant with the MPD. Defendant

Bowen was at all relevant times the MPD Chief of Police, and defendant Tindall was

Murfreesboro’s City Manager. Atchley had an “ongoing pattern and practice of abusing her

supervisory position as a Sergeant by intentionally bullying MPD employees under her

supervision, taking unjustified, punitive actions against MPD employees, and making groundless,

harmful, false accusations against other MPD employees, resulting in discipline or threats of

discipline to those employees.” (Doc. No. 1 ¶ 28.)

       Woodard worked the night shift as a patrol officer. On the early morning of July 25, 2018,

while patrolling within his assigned zone in the City of Murfreesboro, he saw flashing blue lights

in a gas station parking lot. Pursuant to MPD’s standard operating procedure and General Order

No. 104, II, J, Woodard drove to that location to assist. Upon arrival, he observed that a Tennessee

Highway Patrol (“THP”) Trooper, Joey Story, had four individuals detained and sitting on a

sidewalk. A Rutherford County Deputy Sheriff (“Deputy”) was also on the scene, and his vehicle

was pulled up beside Story’s. Woodard knew Story as a “friendly work acquaintance.” (Id. ¶ 38.)

Because the sightline from his vehicle was blocked by the vehicles of Story and the Deputy,

Woodard did not turn on his patrol car’s AV (audio-visual) recorder when he stopped. Woodard

realized, based on the number of individuals detained and the fact that some were juveniles, that



       1
        All parties agreed that the attached exhibits could be used in briefing on the pending
Motions to Dismiss.



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Story would need assistance, so he properly stayed on the scene for approximately sixty-five

minutes to provide such assistance.

       Based on standard operating procedures and protocols, because Story was the officer who

initiated the stop, Story should have been the law enforcement officer who would make any

necessary arrests and take into custody any individuals who needed to be taken into custody. Story,

however, suggested to Woodard that he take one of the detained individuals—a juvenile

runaway—into custody. Woodard, pursuant to standard operating procedures, refused. This

conversation was not captured on Story’s AV recorder. Woodard, however, states that the “AV

recording reflects that the Trooper’s body audio on the AV recordings clicked ‘off’ for several

seconds,” and it was during this “audio silence” that Story “suggested that Plaintiff take the

juvenile runaway into custody” and that the plaintiff refused. (Id. ¶¶ 47–48 & n.17.)

       Because the other detained individuals had been released to their parents and it was by this

time around 4:30 a.m., the customary time for his meal break, Woodard advised Story and MPD

dispatcher Randi Hall that he was leaving to take his meal break. During his telephone conversation

with Hall, Woodard also learned that Story had instructed THP dispatch to call MPD dispatch to

request that MPD send another officer to take custody of the juvenile runaway and that MPD

dispatch had sent Woodard’s zone partner, Officer Richard Whitley, to the scene.

       Woodard had been “annoyed” that Story had asked him to take custody of the juvenile

runaway and was even more annoyed that Story had then gone behind him to get another MPD

officer to the scene to take custody of the juvenile. (Doc. No. 1 ¶ 51.) Despite having already told

dispatch that he was on his meal break, Woodard stayed on the scene until Whitley arrived. He

advised Whitley that he should not take the juvenile runaway into custody either, because Story

was the officer who had initiated the traffic stop. Whitley later claimed not to recall this exchange.




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(Aug. 19, 2019 Hr’g Tr. 106, Doc. No. 1-37, at 29.) Regardless, Woodard then left and returned

to the MPD “roll-call room” to take the remainder of his meal break, arriving at the MPD

headquarters around 4:55 a.m.

       Shortly thereafter, defendant Atchley overheard parts of Woodard’s conversation with

other officers in the roll-call room and immediately jumped to several incorrect conclusions,

including that Woodard had taken an overly long meal break and that he had acted improperly

during his stop to assist Story. Atchley then demanded that Woodard accompany her to the open

“Sergeants’ area,” where she spent an excessively long time loudly berating Woodard,

inappropriately and without justification, asking him questions and then refusing to give him the

opportunity to answer them. Her “tongue-lashing” went on for so long that Lt. Tom Sissom,

commanding officer of the night shift, told her to end it and later directed Atchley to apologize to

Woodard. (Doc. No. 1 ¶¶ 59–63.)

       Woodard attempted to truthfully relay to Atchley what had happened during the stop, but

she repeatedly called him a liar and cut him off. Atchley later spoke with dispatcher Hall, who

confirmed Woodard’s version of events, specifically that Story had directed the THP’s dispatch to

contact MPD’s dispatch to request that an MPD officer come take custody of the juvenile runaway,

and that Woodard had nothing to do with it. Despite Hall’s corroboration, Atchley continued to

mischaracterize the July 25, 2018 “stop” and to spread untrue allegations about the plaintiff

throughout the MPD. Atchley called Sgt. Scotty Miller of the THP to criticize both Story and

Woodard and to communicate “her ‘opinions’ and ‘beliefs’ about the Plaintiff’s ‘dishonesty’”

(Doc. No. 1 ¶ 70.) She also “publicly,” “within the hearing of others,” expressed her unfounded

conclusions about Woodard’s honesty and his behavior during the July 25, 2018 stop, specifically

making false and defamatory statements about the plaintiff while Atchley was drinking at a bar.




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(Doc. No. 1 ¶ 72.)

        On August 21, 2018, Atchley initiated an MPD “Blue Team Complaint” against Woodard

in which she blatantly mischaracterized her hostile interrogation of Woodard on the morning of

July 25, 2018 as a “10-minute chat,” misrepresented what he had told her during that conversation,

and falsely reported that: he had been dishonest with her about the stop and whether his AV

recorder was on; his story changed; he was not disclosing the whole story; he had been improperly

“hanging out” or “loafing” at the stop; Story was his “friend” rather than merely an acquaintance;

he had taken excessive time for his meal break in violation of the meal break policy; he had

“offered” to Story to have Whitley come to the scene and take the juvenile runaway into custody,

thus “throwing his zone partner under the bus”; and he had engaged in “horseplay” during the stop,

in violation of MPD’s code of ethics. (Doc. No. 1 ¶¶ 73–74, 76, 80.) Atchley’s primary complaints

were that Woodard had been “dishonest and untruthful concerning his ‘inattention to duties’ and

‘loafing.’” (Id. ¶ 80.)

        Lt. Steve Jarrell was assigned by the MPD Office of Professional Responsibility (“OPR”)

to investigate Atchley’s allegations in the Blue Team Complaint. In the course of his investigation,

Jarrell interviewed Atchley, Whitley, Officer Eatmon 2 (a recruit who was with Whitley the night

in question), and the plaintiff, but he did not interview dispatcher Randi Hall. The plaintiff also

asserts that Jarrell “could not have carefully and thoroughly reviewed the entire two hours and 58

minutes of AV recordings at issue,” because his report contains “clear errors” that contradict the

AV recordings. (Doc. No. 1 ¶ 88.) In his report, although Jarrell rejected Atchley’s accusation that

Woodard had engaged in “horseplay” and found several other “factual ‘errors’” in Atchley’s


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         This individual is sometimes referred to in the record as Cordario Eatmon (Doc. No. 1 ¶¶
52, 81) and at other times as Eatmon Cordario (id. ¶ 119). The record indicates that his name is
Cordario (or Corario, see Doc. No. 1-14) Eatmon.



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statement, he otherwise, according to Woodard, largely “rubber-stamped” Atchley’s false

allegations that Woodard had been untruthful in relaying to her what had occurred during the July

25, 2018 stop. (Doc. No. 1 ¶¶ 82, 90, 94; see also Jarrell OPR Report, Doc. No. 1-20.)

        Ultimately, in the OPR Investigation report submitted to Police Chief Michael Bowen on

September 24, 2018, Jarrell made findings that Woodard had violated the MPD’s General Order

104, section C, “Police Code of Conduct – Every officer shall deal truthfully and honorably with

others” (Doc. No. 1-20, at 13) by: (1) telling Atchley that he had searched the passenger side of

the vehicle stopped by Story, but later admitted he just “looked” in it; (2) telling Atchley that “he

spoke to the juvenile[ runaway]’s mother and learned he was given a false name, yet it was actually

Trooper Story who learned the juvenile’s real name”; (3) telling dispatch he was on meal break

when he was actually still on the scene of the stop; (4) intentionally gave the impression to

dispatch, by using verbs in the past tense, that he had left the scene when he was actually still there;

(5) stating that Story had tried to convince him to take the juvenile into custody and he had refused

because it was not his arrest, which Jarrell concluded was not corroborated by Story’s AV

recording; (6) claiming he did not know Story had called MPD dispatch to request another unit to

transfer the juvenile; and (7) claiming he told dispatch not to send another unit and then told them

that he saw Whitley and Eamon pull into the parking lot and he would take care of it, which is not

confirmed by the recording of his conversation with dispatch. (Doc. No. 1-20, at 13, 14.) Jarrell

specifically concluded that (1) Woodard did not want to take custody of the juvenile and requested

his meal break “so he would not be dispatched” and by trying to leave the scene before his zone

partner arrived, and was thus “neglectful of his duties” and “put the responsibilities on his zone

partner”; and (2) at the same time, neglected patrolling his zone by staying on the scene longer

than necessary. (Id. at 14.)




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       Jarrell submitted his report to defendant Bowen. Chief Bowen, “without further

investigation into the false allegations” against Woodard, “rubber-stamped” Jarrell’s OPR report

and “[s]ustained [the report] for violations.” (Doc. No. 1 ¶ 94; Doc. No. 1-20, at 14.) Lt. Allen Cox

and Major David Hudgins also accepted Jarrell’s report without further inquiry and recommended

to Bowen that Woodard be suspended for five days. (Doc. No. 1 ¶ 96; Doc. No. 1-21.) Captain

Alan Smith did not agree with this recommendation and, instead, based on a disciplinary action

taken against the plaintiff in 2015, recommended that the plaintiff be placed on disciplinary

probation for a year in addition to the five-day suspension. (Doc. No. 1 ¶ 98, Doc. No. 1-21.)

Meanwhile, throughout the investigation and review, Atchley had been lobbying for more severe

sanctions. (Doc. No. 1 ¶ 99.)

       The plaintiff was “incredulous” and upset about Jarrell’s findings and the recommended

discipline, because he did nothing wrong and the entire complaint against him was fabricated upon

Atchley’s lies. (Doc. No. 1 ¶¶ 100–01.) Nor did he understand why the MPD’s higher-level officers

continued to turn a “blind eye” to Atchley’s vicious and unethical behavior against him as well as

others. (Id. ¶ 102.) He was particularly upset because being placed on probation for a year would

have had the effect of returning him to at-will employment status and stripping him of any right to

a due process hearing if any other disciplinary action were taken against him during the

probationary period. (Doc. No. 1 ¶ 103.)

       Pursuant to long established municipal policy, the plaintiff had three options for responding

to the Recommended Disciplinary Action Memo: (1) accept it; (2) disagree with the recommended

final disposition and request a hearing before the Chief or Deputy Chief; or (3) disagree with the

recommended final disposition and request a hearing before the Murfreesboro Police Disciplinary

Review Board (MPDRB). The plaintiff selected the second option, requesting a hearing before the




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“Chief and/or Deputy Chief.” (Doc. No. 1 ¶¶ 104, 105; Doc. No. 1-24.) Chief Bowen, however,

declined to hear Woodard’s appeal and “instead took the unusual step of ‘punting’ Plaintiff’s

request for review” to the MPDRB. (Doc. No. 1 ¶ 106.) Woodard alleges that, by refusing to hear

his appeal, Bowen failed to perform his job in accordance with long-standing policy and the written

job description for the Chief of Police and, thus, “knowingly, intentionally, willfully, and with

reckless disregard for Plaintiff’s constitutional and legal rights, refused to perform an essential

function of his job to hear Officer Woodard’s appeal of the recommended ‘discipline.’” (Doc. No.

1 ¶ 108.) Despite knowing that Atchley was a “loose cannon” with a history of losing her temper,

bullying officers under her supervision, falsely and maliciously accusing officers of misconduct,

and using her position in a punitive fashion, Bowen “elected to violate policy” by sending the

plaintiff’s appeal to the MPDRB instead of hearing it himself. (Id. ¶ 109.)

       The plaintiff’s hearing before the MPDRB took place on March 13, 2019. The MPDRB

was comprised of two captains, two sergeants, two police officers, and one detective, all of whom

the plaintiff claims had “made up their minds about [the] case prior to the hearing [and] based

upon prejudicial pre-hearing communications” from Atchley and other members of the MPD.

(Doc. No. 1 ¶ 114.) At this hearing, although the plaintiff could request that certain witnesses be

called, the MPDRB had complete control over who appeared as witnesses and no obligation to call

Woodard’s designated witnesses. In addition, the Rules of Civil Procedure and Evidence did not

apply, so the MPDRB was permitted to hear and consider hearsay, opinions, and speculation in

place of actual evidence. At this hearing, the plaintiff claims, Atchley lied under oath.

       The plaintiff was represented by counsel at the hearing, 3 and his attorney requested, in

advance, to present three witnesses on behalf of the plaintiff: dispatcher Randi Hall, Officer


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           His counsel at this point was Blake Garner.



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Whitley, and Officer Eatmon. The City agreed to make these witnesses available at the hearing,

but none appeared, and the plaintiff later learned that the City had never notified these witnesses

or called them to be present the day of the hearing. At the hearing, plaintiff’s counsel was placed

in the untenable position of either “angering and antagonizing MPDRB members by insisting on

continuing the hearing . . . or reluctantly agreeing to go forward without Plaintiff’s witnesses,”

either of which prejudiced the plaintiff. (Doc. No. 1, at 34 n.39.) The attorney chose to proceed

with the hearing. (Id.)

         Although the plaintiff was unable to call all the witnesses he would have liked, his attorney

cross-examined the City’s witnesses, and the plaintiff himself testified and gave his side of the

story. In addition, Lt. Alan Cox testified favorably that Woodard had always been truthful to him.

Lt. Jarrell, on cross-examination, admitted that it would have been inappropriate for Woodard to

take the juvenile into custody and also corrected several of the inaccurate findings in his earlier

report, including acknowledging that the plaintiff had actually spoken to the juvenile runaway’s

mother, had not been on the scene for much more than an hour, and did not know that Whitley had

already been dispatched to the scene at the time he requested his meal break, and that it actually

was Trooper Story who had THP dispatch call MPD dispatch to send another MPD officer to the

scene.

         The plaintiff claims that the members of the MPDRB, however, had collectively made up

their minds prior to the hearing and accepted Atchley’s false accusations wholesale. Two days

after the hearing, the Chair of the MPDRB sent a two-page Memorandum to Bowen recommending

that Woodard be terminated based on a pattern of untruthfulness. (Doc. No. 1 ¶ 131; Doc. No. 1-

25.) Seven days later, Bowen notified the plaintiff in writing of this proposed termination and that

he concurred with the findings and recommendation by the MPDRB. He also notified the plaintiff




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that he was forwarding his recommendation to “City Manager Craig Tindall for his consideration.”

(Doc. No. 1 ¶ 140; Doc. No. 1-26.)

       The plaintiff alleges that Atchley’s misconduct, as described in the Complaint, is a “matter

of public concern.” (Doc. No. 1 ¶ 134.) He also asserts that Bowen’s refusal to hear the appeal

himself, in the first instance, and his act of “rubber-stamping” the MPDRB’s decision to terminate

Woodard (rather than conducting a thorough review of the record himself) violated established

policy, the City Charter, and the plaintiff’s constitutional rights. (Id. ¶¶ 141,149.)

       As soon as Bowen issued his recommendation that Woodard’s employment be terminated,

the City immediately decommissioned him, requiring him to surrender his badge and service

weapon, and assigned him to perform clerical work while wearing “plain clothes.” (Doc. No. 1 ¶

153.) The plaintiff asserts that being decommissioned and required to work the daytime shift doing

clerical work constituted an adverse employment action, because he immediately lost overtime

wages and suffered further financial hardship as a result of being required to work the day shift,

which, because his wife also worked during the day, put him and his wife in the position of having

to pay for child care. (Doc. No. 1 ¶ 151.) In addition, anyone who walked into the MPD who saw

Woodard out of uniform and doing clerical work would immediately know he had been

decommissioned, a punishment generally reserved for officers who have engaged in “egregious

misconduct.” (Doc. No. 1 ¶ 153.)

       The plaintiff also alleges that the City of Murfreesboro, through its agents, informed the

District Attorney and Assistant District Attorneys for the City that he had been decommissioned

on the basis of dishonesty. “Based upon the false and stigmatizing information about Plaintiff

given” them, the DA’s office “did not want Officer Woodard to serve as the prosecution’s witness

at upcoming hearings and trials.” (Doc. No. 1 ¶ 156.) In addition, other MPD employees told




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numerous city employees, third parties, and MPD retirees “about the hearing and related

stigmatizing, false information” about Woodard, while Atchley “bragged” that she had “gotten rid

of” Woodard. (Doc. No. 1 ¶ 155.)

       Defendant Tindall sent Woodard a letter dated March 31, 2019, notifying him that he

intended to accept Bowen’s recommendation of termination but that Woodard had “a right to

request a due process hearing before this disciplinary measure takes effect.” (Doc. No. 1-27.) If

Woodard requested such a hearing, he would have a right to be represented by an attorney and to

present witnesses and exhibits. (Id.) Woodard immediately submitted to Tindall a “Motion to Set

Aside [the MPDRB’s] Recommendation to City Manager Tindall, and Request for New Hearing.” 4

(Doc. No. 1-28.) By letter dated April 30, 2019, Tindall notified plaintiff’s counsel that the motion

was not “ripe,” because the MPDRB “is an advisory body making a recommendation to the Police

Chief, not the City Manager,” but he also advised the plaintiff that the issues raised in the motion

“can be presented and, if presented, will be considered at the hearing” before the City Manager.

(Doc. No. 1-29.)

       On June 13, 2019, plaintiff’s counsel sent an email to the Murfreesboro City Attorney,

notifying her that Woodard was requesting a “‘name clearing hearing’ pursuant to the 14th

Amendment of the U.S. Constitution (Sec. 1983) and the Tennessee Constitution.” (Doc. No. 1-

30.) Counsel for the plaintiff then sent a letter to the City Manager, dated June 20, 2019, which,

among other matters, demanded a “‘Clear Your Name’ hearing to refute any inaccurate

suggestions of ‘dishonesty’ or ‘violations’ of the MPD Code of Conduct arising from the July 25,

2018 traffic stop.” (Doc. No. 1-31.) The plaintiff asserts, as a legal matter, that a “name clearing



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        By this time, the plaintiff was represented by both Blake Garner, his original counsel, and
Joyce Grimes Safley, his current attorney. (See Doc. No. 1-28, at 4.)



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hearing” is “required as a ‘pre-deprivation hearing.’” (Doc. No. 1 ¶ 165.) He asserts that the City

Manager and the City of Murfreesboro repeatedly denied his request for a name-clearing hearing

on the grounds that the request was not “ripe.” (Doc. No. 1 ¶ 165; see also June 21, 2019 email

from Tindall to Safley, Doc. No. 1-33 (noting that a “name-clearing hearing . . . is not appropriate

at this stage”).)

        The plaintiff, meanwhile, requested to depose Atchley in anticipation of the due process

hearing before Tindall. The City of Murfreesboro initially agreed to produce her for deposition

and then reneged on that agreement and refused to allow her to be deposed. (Doc. No. 1 ¶ 167; see

also Doc. No. 1-31.) Tindall denied the plaintiff’s motion to compel Atchley’s deposition as

without “any procedural basis.” (Doc. No. 1 ¶ 172; see also Doc. No. 1-33.) The plaintiff asserts

that he was prejudiced in participating in the due process hearing as a result of not being permitted

to depose Atchley. He also claims that Tindall’s refusal to require the City to respond to his motion

confirmed that Woodard “would not receive a fair hearing before him” and that Tindall had

“already predetermined the outcome of the case.” (Doc No. 1 ¶ 171.) Woodard also believes that

the language of Tindall’s June 21, 2019 email demonstrated his bias against the plaintiff, insofar

as it notified him that a “name-clearing hearing [was] not appropriate at this stage,” that no other

procedural motions were warranted, that the proceeding to be conducted before him would not be

a de novo hearing, that the plaintiff’s presentation should be limited to rebuttal or mitigating matter

only, and that he would only have ninety minutes to make his presentation. (Id. ¶ 173; see also

Doc. No. 1-33.) The plaintiff maintains that Tindall’s actions, in particular his refusal to hold a

name-clearing hearing or allow the plaintiff to submit proposed findings of fact and conclusions

of law, violated the City Charter and the plaintiff’s due process rights.

        Because his presentation was limited to ninety minutes, the plaintiff was “forced to speed




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through the examinations of witnesses and did not have time to thoroughly and adequately present

[his] case.” (Doc. No. 1 ¶ 182.) Atchley again testified falsely under oath, but the plaintiff’s

attorney was able to impeach her testimony and show that it was false. (Id. ¶¶ 183, 185.) Although

it was “abundantly clear to all in attendance” that Atchley had fabricated her accusations against

Woodard, Tindall concluded that “[n]othing presented at the hearing demonstrated an error in the

Department’s investigation or the [MPDRB’s] determination.” (Id. ¶ 190.) He accepted the

recommendation that the plaintiff’s employment be terminated without making a full review of the

record.

          The plaintiff asserts that Tindall and Bowen, in their official capacity, have “developed and

employ a de facto policy and practice . . . of failing and refusing to properly investigate Defendant

Atchley’s false accusations against other police officers,” despite knowing that her accusations are

false (Doc. No. 1 ¶ 196); have “routinely” placed false information generated by Atchley into

police employees’ personnel files, including that of Woodard; and have taken adverse employment

actions against such employees, including Woodard, on the basis of false information created by

Atchley (id. ¶ 197). The defendants have “informed third parties, i.e., ‘the public,’ of false

allegations against MPD employees, including the Plaintiff, that were fabricated by Defendant

Atchley.” (Id. ¶ 198.)

          The plaintiff alleges that defendant Atchley continued to retaliate against him even after

his employment had been terminated. Specifically, in October 2019, she falsely accused Woodard

of impersonating a police officer and reported her accusations to Bowen, Tindall, and City

Attorney Adam Tucker. She also referred her complaint to OPR Investigator Jarrell to pursue it

further. The plaintiff claims that she knowingly and falsely accused him of impersonating a police

officer for the purpose of retaliating against him and causing him further harm. Jarrell refused to




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investigate the accusation, as Woodard was no longer an MPD employee, and referred the

complaint to Lt. Tom Sissom. Sissom closed the investigation after concluding that there was no

evidence to support Atchley’s allegations. The plaintiff nonetheless alleges that the City of

Murfreesboro, Bowen, and Tindall knew about Atchley’s complaint and “participated” in

Atchley’s retaliation by continuing in their pattern and de facto policy of “accepting false and

untruthful accusations made by Defendant Atchley,” turning a blind eye to her misconduct, and

taking no corrective action against her. (Doc. No. 1 ¶ 212.) The plaintiff further alleges that Atchley

abused her position by casting him in a false light and making disparaging remarks against him to

a third-party (his neighbor). The defendants never contacted his neighbor to inform her that

Atchley’s complaint against him was false, thus further damaging his reputation.

II.      PROCEDURAL HISTORY

         The plaintiff filed suit on February 20, 2020. In his Complaint, he asserts three distinct

claims for relief, or “counts,” against all the defendants, without distinguishing among them, under

42 U.S.C. § 1983: (1) a claim based on the defendants’ depriving the plaintiff of his protected

property interest in continued employment with the City of Murfreesboro without due process; (2)

a claim based on the defendants’ depriving the plaintiff of a liberty interest protected by the

Fourteenth Amendment, specifically an interest in his reputation, honor, good name, and integrity,

without due process; and (3) a claim for retaliation against the plaintiff for having exercised his

right to petition the City of Murfreesboro for redress of grievances, in violation of the First

Amendment. In addition to monetary damages for injuries arising from those alleged constitutional

violations, the plaintiff also seeks injunctive relief and punitive damages.

         The plaintiff filed a Motion for Preliminary Injunction on April 20, 2020, which remains

pending. Shortly thereafter, defendant Atchley and the City Defendants filed their separate

Motions to Dismiss and supporting Memoranda (Doc. Nos. 25, 26, 30, 31). Citing Rule 12(b)(6)



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of the Federal Rules of Civil Procedure, the defendants seek dismissal of all claims asserted against

them on the grounds that the allegations in the Complaint, even presumed to be true and construed

in the light most favorable to the plaintiff, fail to state a claim for which relief may be granted

under 42 U.S.C. § 1983. After having been granted leave to exceed the page limitations imposed

by the court’s Local Rules, the plaintiff has filed Responses in opposition to both Motions to

Dismiss. (Doc. Nos. 39, 40.) The defendants thereafter filed Replies (Doc. Nos. 42, 43). The

plaintiff, without leave of court, filed a Surreply, in which he distinguishes his case from that of

Miller v. City of Murfreesboro, 122 S.W.3d 766 (Tenn. Ct. App. 2003), on which Atchley relies

in support of her argument that the plaintiff did not have a constitutionally protectible property

interest in his employment. (Doc. No. 44.) On June 17, 2020, the court granted Atchley leave to

file a Notice of Supplemental Authority (Doc. No. 48), bringing to the court’s attention a recent

Tennessee Supreme Court decision, Keller v. Casteel, No. E2017-01020-SC-R11-CV, --- S.W.3d

---, 2020 WL 3118602 (Tenn. June 12, 2020).

III.   STANDARD OF REVIEW

       In deciding a motion to dismiss for failure to state a claim under Rule 12(b)(6), the court

will “construe the complaint in the light most favorable to the plaintiff, accept its allegations as

true, and draw all reasonable inferences in favor of the plaintiff.” Directv, Inc. v. Treesh, 487 F.3d

471, 476 (6th Cir. 2007); Inge v. Rock Fin. Corp., 281 F.3d 613, 619 (6th Cir. 2002). The Federal

Rules of Civil Procedure require only that a plaintiff provide “a short and plain statement of the

claim that will give the defendant fair notice of what the plaintiff’s claim is and the grounds upon

which it rests.” Conley v. Gibson, 355 U.S. 41, 47 (1957). The court must determine only whether

“the claimant is entitled to offer evidence to support the claims,” not whether the plaintiff can

ultimately prove the facts alleged. Swierkiewicz v. Sorema N.A., 534 U.S. 506, 511 (2002) (quoting

Scheuer v. Rhodes, 416 U.S. 232, 236 (1974)).



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       The complaint’s allegations, however, “must be enough to raise a right to relief above the

speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). To establish the “facial

plausibility” required to “unlock the doors of discovery,” the plaintiff cannot rely on “legal

conclusions” or “[t]hreadbare recitals of the elements of a cause of action,” but, instead, the

plaintiff must plead “factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678–79 (2009).

“[O]nly a complaint that states a plausible claim for relief survives a motion to dismiss.” Id. at

679; Twombly, 550 U.S. at 556.

IV.    DISCUSSION

       All of the plaintiff’s claims for relief arise under 42 U.S.C. § 1983. Generally, to state a

claim for relief under § 1983, a plaintiff must allege (1) “the deprivation of a right secured by the

Constitution or laws of the United States” and (2) that “the deprivation was caused by a person

acting under color of state law.” Tahfs v. Proctor, 316 F.3d 584, 590 (6th Cir. 2003) (citation

omitted). To state a claim under § 1983 against a municipality, or against municipal officials in

their official capacity, 5 the court must consider, not only “[w]hether the plaintiff has asserted the

deprivation of a constitutional right at all,” but also “[w]hether the [municipality] is responsible

for that violation.” Id. at 505–06. Allegations that an unconstitutional action was taken by officials

with “final decision making authority” may satisfy the second inquiry. Agema v. City of Allegan,

826 F.3d 326, 331 (6th Cir. 2016).




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          A suit against an official in his official capacity “is treated as a suit against the
municipality.” Doe v. Claiborne Cty., 103 F.3d 495, 509 (6th Cir. 1996). Consequently, the claims
against the natural-person defendants in their official capacities are redundant of the claims against
the City of Murfreesboro.



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       A.      Count One: Whether the Plaintiff Was Deprived of a Constitutionally
               Protected Property Interest Without Due Process

       In support of her motion to dismiss this claim, Atchley argues that the plaintiff cannot

establish the violation of a constitutional right in the first instance, both because Woodard did not

have a constitutionally protected property interest in his employment with the City of

Murfreesboro and because, even if he did, he was accorded all the process that was due under the

Constitution. (Doc. No. 26.) The City Defendants presume, for purposes of their Motion to Dismiss

only, that the plaintiff had a constitutionally protected property interest in his employment, but,

like Atchley, they contend that the plaintiff was accorded all of the predeprivation process to which

he was due.

               1.      The Existence of a Property Interest

       The City of Murfreesboro’s Employee Handbook, relevant excerpts of which are attached

as exhibits to the Complaint, establishes a mandatory procedure that all municipal agencies must

make available to non-probationary employees before subjecting them to any form of serious

discipline. For instance, if a “department or section head or designee” believes an employee should

be subject to more than three days of suspension without pay or to disciplinary probation, “then

the employee shall be given written notice of the charges and the proposed discipline, an

explanation of the City’s evidence, and an opportunity to present the employee’s side of the story

before the proposed disciplinary action takes effect.” (Doc. No. 1-7, City of Murfreesboro

Employee Handbook § 3002(e)(3)(i).) The purpose of this “notice and opportunity to be heard is .

. . to prevent disciplinary determinations based on mistakes in facts by requiring the decision-

maker to be certain that there are reasonable grounds to support the proposed action.” (Id.) If,

following that initial proceeding, “the department or section head . . . determines that termination

. . . is the most appropriate discipline,” as happened here, “the department or section head . . . shall




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make that recommendation in writing to the City Manager and the matter shall proceed with a due

process hearing.” (Id. § 3002(e)(3)(iii).) Thereafter, “[a] due process hearing shall be held before

the City Manager . . . . The due process hearing before the City Manager shall be conducted in

accordance with the evidentiary rules generally applicable to administrative hearings. Decisions

shall be based upon a preponderance of the evidence.” (Id. § 3002(f)(2).) The City Manager is

granted the “exclusive power” to dismiss a municipal employee, “subject to the employee’s

constitutional rights.” (Id. § 3002(d).)

        The use of the word “shall” in multiple places, along with references to “due process” and

employees’ “constitutional rights,” in the description of this procedure constitutes “unequivocal

language demonstrating the City’s intent to be bound by the handbook’s provisions.” Freeze v.

City of Decherd, 753 F.3d 661, 666 (6th Cir. 2014); see id. (“As a general matter, a wide variety

of courts have held that the use of the terms ‘shall’ or ‘will’ creates a binding obligation.”). It also

appears to distinguish this case on the facts from that of the plaintiff in Keller v. Casteel, in which

the Tennessee Supreme Court recently held that a firefighter in Cleveland, Tennessee had no

property interest in his employment, based on the language of the City of Cleveland personnel

manual. See Keller, 2020 WL 3118602, at *8–9 (holding that the City of Cleveland manual did

not create a contract or give rise to a property interest in municipal employment).

        Based on the allegations in the Complaint as well as the disciplinary procedures established

by the Employee Handbook that must be satisfied before a non-probationary employee can be

terminated, the court concludes that the plaintiff adequately alleges that he had a reasonable

expectation that his employment could not be terminated without cause, as determined through

implementing the procedure set out in the Employee Handbook. Consequently, for purposes of the

Motions to Dismiss only, the court concludes that the plaintiff adequately alleges the existence of




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a constitutionally protected property interest in maintaining his employment. Accord Gregory v.

Hunt, 24 F.3d 781, 785 (6th Cir. 1994) (“An at-will public employee does not have a property

interest in continued employment unless it can be shown that the employee had a reasonable

expectation that termination would be only for good cause.”); see also Freeze, 753 F.3d at 665–66

(“[I]n order for a handbook or manual to create . . . a property right to termination only for good

cause[,] the handbook must contain[ ] unequivocal language demonstrating [the employer’s] intent

to be bound by the handbook’s provisions.” (citation and internal quotation marks omitted)).

               2.      What Process Was Due?

       Having concluded, for purposes of the Motions to Dismiss, that the plaintiff had a

constitutionally protected property interest in continued employment with the police department,

the court must consider what process was due and whether it was accorded.

       “When a plaintiff has a protected property interest, a predeprivation hearing of some sort

is generally required to satisfy the dictates of due process.” Leary v. Daeschner, 228 F.3d 729, 742

(6th Cir. 2000) (citing Cleveland Bd. of Educ. v. Loudermill, 470 U.S. 532, 542 (1985)). The

predeprivation hearing does not necessarily have to be elaborate, and the amount of process due

depends, “in part, on the importance of the interests at stake.” Id. Specifically in the context of a

plaintiff’s claim of a property interest in continued public employment, the Supreme Court has

held that, in determining what type of predeprivation process is required, the district court must

“balance ‘the private interest in retaining employment, the governmental interest in the expeditious

removal of unsatisfactory employees and the avoidance of administrative burdens, and the risk of

an erroneous’ decision.” Id. at 743 (quoting Loudermill, 470 U.S. at 542–43); see id. (“Due process

is a flexible principle whose requirements depend on the facts of the individual case.”).

       Upon balancing those factors, the Supreme Court concluded that, when a public employee

is threatened with the loss of employment in which he has a protected property interest, the



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individual is entitled, at a minimum, to predeprivation “oral or written notice of the charges against

him, an explanation of the employer’s evidence, and an opportunity to present his side of the

story.” Loudermill, 470 U.S. at 546. Thus, while a “pretermination ‘hearing’ [is] necessary,”

“something less than a full evidentiary hearing is sufficient prior to adverse administrative action.”

Id. at 545 (internal quotation marks and citation omitted). Moreover, the pretermination hearing

“need not definitively resolve the propriety of the discharge. It should be an initial check against

mistaken decisions—essentially, a determination of whether there are reasonable grounds to

believe that the charges against the employee are true and support the proposed action.” Id. at 545–

46. The Court concluded that “[t]o require more than this prior to termination would intrude to an

unwarranted extent on the government’s interest in quickly removing an unsatisfactory employee.”

Id. at 546.

        The Supreme Court’s conclusion in Loudermill that predeprivation procedure need not be

elaborate depended in part on the fact that the civil servant in that case was also entitled, under

state law, to “a full post-termination hearing.” Loudermill, 470 U.S. at 546; see id. at 547–48 (“We

conclude that all the process that is due is provided by a pretermination opportunity to respond,

coupled with post-termination administrative procedures as provided by the Ohio statute.”). The

Sixth Circuit, too, has recognized that a relatively limited pretermination hearing, even one

conducted by a biased decisionmaker, does not violate due process if the state’s procedures also

permit him a full-blown post-termination evidentiary hearing. Duchesne v. Williams, 849 F.2d

1004, 1008 (6th Cir. 1988). As the court stated in Duchesne:

        The full, post-termination, adversary, trial-type hearing will serve to ferret out bias,
        pretext, deception and corruption by the employer in discharging the employee. The
        adversary processes employed in an adjudicatory, post-termination hearing
        controlled by an impartial judge lend themselves to proving wrongful conduct by
        the employer. The limited, “right-of-reply” pretermination hearing, as defined in
        Loudermill, is designed to invoke the employer’s discretion, his sense of fairness




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        and mutual respect, his willingness to reconsider. It is not designed or well-adapted
        to uncover the employer’s bias or corrupt motivation.

Id. (citation and internal quotation marks omitted). Largely for that reason, the court held that a

discharged employee is not entitled to a pretermination hearing before a “neutral and impartial

decisionmaker.” Id. at 1006.

        In this case, following Officer Jarrell’s investigation into Atchley’s allegations, Chief

Bowen accepted the recommendation that Woodard be suspended without pay for five days and

be placed on administrative probation for a year. Woodard appealed and was afforded an initial

hearing before the MPDRB, which lasted almost four hours. 6 At this hearing, which took place

before two captains, two sergeants, two police officers, and one detective, the plaintiff was

represented by counsel and was permitted to present evidence and witnesses. Atchley and Jarrell

testified, were cross-examined by plaintiff’s counsel, and were also questioned by members of the

Board. Lt. Cox and Captain Smith, the officers who recommended or signed off on the proposed

discipline, also testified briefly, as did Lt. Sissom. There was some discussion of the fact that Randi

Hall, Whitley and Eatmon were supposed to have been present to testify but did not appear and

may not have been notified. Although the plaintiff argues that he was prejudiced by the City’s

failure to ensure the presence of these witnesses, plaintiff’s counsel did not formally object to their

absence, and the record indicates that everyone agreed to proceed without them. (Doc. No. 1-24,

at 34 (Tr. 95).) The plaintiff himself testified at length to present his side of the story.

        Following this hearing, the MPDRB recommended that the plaintiff’s employment be

terminated, and the plaintiff appealed that determination to the City Manager, who conducted a


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          His claim that the chief violated policy—and violated his constitutional rights—by
refusing to conduct the hearing himself and instead referring it to the MPDRB is baseless. Even if
the chief arguably violated municipal policy, a matter the court does not resolve, the plaintiff does
not deny that the MPDRB afforded him a hearing.



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second hearing. This hearing was limited to three hours in length, with the plaintiff’s presentation

limited to ninety minutes, and the City Manager made it clear that his review was not de novo.

Instead, as he announced at the outset, the purpose of the hearing was to give the plaintiff the

opportunity to establish that the prior decision “was sufficiently in error for [the City Manager] to

alter or overturn the decisions that have been made.” (Doc. No. 1-37, at 2 (Tr. 4).) Nonetheless,

the plaintiff, once again, was represented by counsel and was permitted to call witnesses, introduce

evidence, and present his side of the story.

       Two days after the hearing before him, City Manager Tindall sent Woodard a letter

notifying him that “[n]othing presented at the hearing demonstrated an error in the Department’s

investigation or the Board’s determination.” (Doc. No. 1-38.) He therefore accepted the

recommendation of termination. He also notified Woodard that, “[i]n accordance with Section

3002(g) of the Employee Handbook,” he had the right to a post-deprivation hearing before a neutral

decisionmaker: he could appeal the decision to the City’s Disciplinary Review Board (“DRB”).

(Id.) And, under § 3002 of the Employee Handbook, a hearing before the DRB would be conducted

pursuant to § 36 of the City Charter, which provided for a full-blown evidentiary hearing in

accordance with the Tennessee Uniform Procedures Act, Tenn. Code Ann. §§ 4-5-301 through -

319. (Doc. No. 1-7, Employee Handbook § 3002; Doc. No. 1-1, City Charter § 36(d).) The plaintiff

did not choose to pursue a post-deprivation hearing and, instead, filed this lawsuit.

       The Complaint itself and the exhibits attached to it, which include complete transcripts of

both hearings, establish that Woodard was accorded all the process required by Loudermill and

more: he received two in-person hearings, prior to both of which he had received written notice of

the specific nature of the charges and allegations against him; he was represented by counsel at

both hearings; and he was permitted to call witnesses, introduce evidence, cross-examine the




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witnesses called by the MPD, and testify on his own behalf to present his version of events.

Loudermill does not require more, especially given that the plaintiff also was given the opportunity

to have a full-blown post-termination evidentiary hearing that would have afforded de novo review

of the decision before a neutral arbiter.

               3.      Whether the Process Accorded Was “Meaningful”

       The plaintiff nonetheless argues that he was denied due process because the two hearings

were both “sham” proceedings or “Kangaroo courts” at which the outcome was predetermined.

(Doc. No. 39, at 40.) He insists that he has alleged sufficient facts in the Complaint for the court

to draw the reasonable inference that the hearings were “not . . . fair or neutral” because the

outcomes of both hearings were predetermined. (Doc. No. 39, at 41.) He argues that the MPDRB

hearing was a “sham” because: (1) it was “initiated by Defendant Atchley’s false accusations”

against him, which Atchley has admitted were based on her intuition, beliefs, and opinions and

“subject to her ‘editorializing’” (Doc. No. 39, at 40); (2) the MPDRB’s stated conclusion that its

members were concerned about the plaintiff’s “pattern of not being truthful” was demonstrably

untrue, because the plaintiff did not have any such pattern; (3) Atchley herself had a pattern and

practice of making unfounded accusations against MPD employees, of which her supervisors in

the MPD were aware; and (4) the plaintiff did not have a full opportunity to present his side of the

story to the MPDRB, because the City failed to notify the witnesses he requested to appear at the

MPDRB hearing, thus “forcing Plaintiff to proceed without his witnesses” (id. at 41). The plaintiff

claims that all of these issues also were present at his hearing before City Manager Tindall. He

further claims that the “sham” nature of the second hearing is further demonstrated by: (1)

Tindall’s refusal even to consider his motion to compel the City to produce Atchley for a

deposition; (2) his refusal to hold a “name-clearing hearing,” stating only that it was “inappropriate

at this stage” (id. at 42); (3) Tindall’s admission that the hearing before him was not a de novo



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proceeding, his placement of a time limit on the plaintiff’s ability to present evidence and the

burden of proof on the plaintiff, and his admission that he had “reviewed all the investigative

materials, all information presented to Mr. Woodard as the basis for his discipline, and the advisory

decision of the [MPDRB]” prior to the hearing (id. at 42); (4) Tindall’s referring to Woodard as

“Mr.” instead of “Officer” Woodard; and (5) Tindall’s chastising plaintiff’s counsel for

“mischaracterizing” the process before him and insisting on “procedural rights that do not exist”

and stating that it would not “alter the City’s legal defenses moving forward” (id. at 42). The

plaintiff also argues that his counsel’s cross-examination of Atchley clearly demonstrated that she

was lying under oath, had made previous false statements, and premised her accusations against

the plaintiff on nothing more than intuition and opinion. Finally, when she finished testifying,

Atchley winked at Tindall as she was leaving the stand. When plaintiff’s counsel protested, Tindall

stated that he construed it as simply “a thank you.” (Doc. No. 1-37, at 23 (Tr. 84).) In essence, the

plaintiff is arguing that any reasonable person who actually considered all the evidence in the

record could only have come to the conclusion that Atchley had “fabricated groundless

accusations” and that he was innocent of the charges made against him. (Doc. No. 39, at 47.)

       Several district court opinions from within this district and at least one circuit court have

recognized that, although an unbiased or impartial pretermination hearing is not required, there

may be situations in which the “bias is so severe as to interfere with due process at the hearing

itself.” Chmielinski v. Massachusetts, 513 F.3d 309, 318 (1st Cir. 2008); see id. (“A key concern

in Loudermill was that the employee have an opportunity to present his side of things to correct

errors of fact on which the termination decision is based. In theory at least, a decisionmaker could

be so utterly biased as to deprive an employee of even that error-correction ability.” (internal

citation omitted)). In Chmielinski, the plaintiff alleged that he was deprived of due process because




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he was not permitted to perform his own investigation before the hearing; he also claimed that his

opportunity to be heard was “meaningless,” because the hearing officer was biased, as

demonstrated by his having lunch with the opposing attorney on one of the hearing days. The court

concluded that these facts, even if true, were not sufficient to establish a deprivation of due process,

where the evidence showed that the plaintiff received full notice of the employer’s allegations

against him months before the hearing, and he appeared at the hearing with counsel and was

allowed to present evidence on his own behalf. Id. at 317. The court concluded that, even assuming

bias on the part of the hearing officer, the complaint did not allege that the purported bias “deprived

him of the opportunity to put his version of the facts before the decisionmaker, or that there was

any error of primary facts in the grounds used for termination that could be explained only by

bias.” Id. at 318. Although the plaintiff disagreed “with the exercise of judgment which led to the

imposed penalty of termination of his employment, . . . that does not state a due process concern

arising out of the hearing itself.” Id.

        Closer to home, in Zavatson v. City of Warren, 714 F. App’x 512 (6th Cir. 2017), the Sixth

Circuit was confronted with the argument that, although the plaintiff had notice of the claims

against him and an opportunity to present his side of the story, the disciplinary proceedings against

him were a “sham.” Id. at 527. The plaintiff pointed to two district court cases as examples of cases

in which “a pretermination hearing violated an employee’s right to due process because ‘the bias

[against the employee] was so harmful as to totally defeat the concerns and goals of the hearing.’”

Id. at 528 (quoting Bettio v. Vill. of Northfield, 775 F. Supp. 1545, 1564 (N.D. Ohio 1991)). The

Sixth Circuit, without actually addressing whether the district court cases were correctly decided,

distinguished them from the case before it on the facts, noting that, in the first, the official presiding

over the case had been instructed ahead of the hearing to terminate the plaintiff regardless of the




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evidence presented at the hearing. Id. at 528 (citing Wagner v. City of Memphis, 971 F. Supp. 308

(W.D. Tenn. 1997)). And in the second, the plaintiff alleged that the “officials presiding over his

pretermination hearing ‘knew that the charges [that led to the hearing] were false.” Id. (citing

Bettio, 775 F. Supp. at 1564–65).

       Even assuming that allegations of extreme bias, without more, may serve to establish a

deprivation of due process, this court cannot find the circumstances here similar enough to Bettio

or Wagner to warrant a like outcome. The objective evidence in the record, filed with and

referenced in the Complaint, establishes that the decisions based on the hearings conducted on the

charges against the plaintiff did not merely “rubber-stamp” Atchley’s allegations or accept without

modification her view of events, and nothing in the plaintiff’s allegations suggests that Atchley or

anyone else knowingly brought false charges against the plaintiff. Atchley’s allegations were

investigated independently by Steve Jarrell. His investigation resulted in a conclusion that several

of Atchley’s allegations were unsubstantiated. Nonetheless, based on his conclusions, the

plaintiff’s supervisors recommended disciplinary action. The plaintiff appealed, and Jarrell’s

conclusions were submitted to the MPDRB, which rejected some of his conclusions and accepted

others, further narrowing the scope of the charges against the plaintiff but nonetheless concluding,

based on the Board members’ own view of the evidence presented to them, that the plaintiff had

been untruthful.

       The court here is not called upon to determine whether it agrees with the MPDRB’s

decision or whether the decision is supported by a preponderance of evidence in the record. The

question is merely whether the decision was reasonable and comported with due process. In that

regard, the court finds that, even assuming that the MPDRB’s conclusion was in error and not fully

supported by the evidence, the plaintiff has not alleged facts that, if true, would establish that the




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MPDRB was so biased and the proceedings so tainted as to constitute a sham, thus depriving the

plaintiff of a meaningful opportunity to present his side of the story, in violation of Loudermill.

That hearing, standing alone, was likely sufficient by itself to provide the plaintiff all the

predeprivation process to which he was due under the United States Constitution.

       Nonetheless, under the Employee Handbook and City Charter, Woodard was also entitled

to appeal that decision for a second predeprivation hearing. Although the scope of the City

Manager’s review was clearly not de novo, the record does not reasonably support a conclusion

that it constituted a “rubber stamp” of the MPDRB’s decision. And, although the hearing was not

lengthy or elaborate, it again satisfied Loudermill. The plaintiff was notified of the charges against

him and provided ample opportunity to prepare. He was permitted to call witnesses, present

evidence, cross-examine the City’s witnesses, and, most importantly, present his side of the story.

In addition, even though the review was not plenary and did not provide the plaintiff with the full

scope of discovery he sought, the burden of proof he believed should apply, or the amount of time

he believed he needed to fully present his case, the plaintiff had the ability to seek a full,

evidentiary, de novo review before a neutral hearing officer if he had chosen to appeal the City

Manager’s decision. He did not.

       Regarding the plaintiff’s specific arguments, the plaintiff claims that Atchley made her

accusations based on belief and intuition, but he does not allege that she intentionally falsified any

evidence or that she had a reason to do so. His complaint that he did not have a full opportunity to

present his side of the story, based on the City’s failure to ensure Whitley’s and Eamon’s presence

at the MPDRB hearing, is groundless for several reasons: (1) the plaintiff waived any objection on

that basis by failing to raise it at the hearing and by agreeing to proceed without those witnesses;

(2) he has not shown that their testimony would have made a difference; and (3) their absence in




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no way hindered him from presenting his side of the story.

       His complaints against Tindall are equally meritless. Tindall had no obligation to permit

discovery, the filing of pretrial motions, or the submission of proposed findings of fact or

conclusions of law, and it was well within his prerogative to review the evidence in the record

prior to the hearing. Nor was he required to conduct a de novo consideration of the propriety of

the recommendation that the plaintiff’s employment be terminated. Rather, his only obligation was

to comply with the City’s established procedures as set forth in the Employee Handbook and the

City Charter. From the record, it appears that he did so. In any event, the plaintiff does not allege

otherwise.

       The plaintiff’s allegations essentially boil down to a claim that the City got it wrong and

that the decisionmakers were biased, but an incorrect personnel decision does not amount to a

constitutional violation. As the Supreme Court recognized many years ago, “[t]he Due Process

Clause of the Fourteenth Amendment is not a guarantee against incorrect or ill-advised personnel

decisions.” Bishop v. Wood, 426 U.S. 341, 350 (1976). In sum, for purposes of the plaintiff’s

individual capacity and official capacity claims in Count One, the court finds that, while the

Complaint adequately alleges the existence of a protected property right and a deprivation thereof,

the allegations in the Complaint coupled with a review of the documentary evidence, all considered

in the light most favorable to the plaintiff, do not establish that the deprivation took place in the

absence of due process. The process afforded the plaintiff complied with, or exceeded, that

required by Loudermill and Sixth Circuit precedent construing it. The motions to dismiss Count

One will be granted.

       B.      Count Two: Deprivation of Liberty Interest Without Due Process

               1.      The Parties’ Arguments

       The plaintiff alleges that his reputation, honor, good name, and integrity constitute liberty



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interests protected by the Due Process Clause of the Fourteenth Amendment; this interest was

violated when Atchley falsely accused him of being dishonest and “publicized her false

accusations to numerous individuals”; Atchley violated this interest again when she falsely

accused him of criminally impersonating a police officer; the other defendants “intentionally,

willfully, knowingly, and in reckless disregard of Plaintiff’s constitutional rights accepted and

adopted the false . . . and stigmatizing information . . . , publicized the false information to third

parties and the public, damaged Plaintiff’s name and reputation, and terminated the Plaintiff

without due process by [failing to hold] a constitutionally mandated ‘name-clearing hearing,’”

despite the plaintiff’s numerous requests for such a hearing. (Doc. No. 1 ¶¶ 223–25.) He

specifically alleges, in the fact section of the Complaint, his belief that a pre-deprivation name-

clearing hearing is constitutionally required (Doc. No. 1 ¶ 165) and that, despite his “continu[ing]

to request a ‘Name Clearing Hearing’ from Defendant both in writing and verbally, by and through

his attorneys,” defendant Murfreesboro “steadfast[ly] refused to hold the constitutionally

mandated hearing for Plaintiff.”

        In their Motion to Dismiss, the City Defendants argue that the plaintiff could have pursued

a “name-clearing hearing” during the post-deprivation proceedings provided by the City Charter

and that, by failing to do so, he waived any claim based on a purported deprivation of a liberty

interest in his reputation and good name. (Doc. No. 31, at 13.) For her part, Atchley argues that

the plaintiff actually received the name-clearing hearing he requested—in the form of the hearing

before City Manager Tindall on August 19, 2019. (Doc. No. 26, at 17.) In response, the plaintiff

argues that he was entitled to, and the defendants refused to provide, a “dedicated” pre-termination

name-clearing hearing and that he did not waive his right to pursue any such hearing. (Doc. No.

39, at 48.)




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               2.      The Protection Afforded Liberty Interests

       The law in this particular arena is not well developed, and none of the parties has made

much of an effort to assist the court in teasing out its nuances. It is nonetheless clear that, in

analyzing a Fourteenth Amendment claim based on the deprivation of a liberty interest, the court

must first determine whether a protected “interest exists and then determine what procedures are

required to protect that interest.” Crosby v. Univ. of Ky., 863 F.3d 545, 552 (6th Cir. 2017). With

respect to the first question, a person’s interest in his “reputation, good name, honor, and integrity”

is among the liberty interests protected by the Due Process Clause of the Fourteenth Amendment.

Quinn v. Shirey, 293 F.3d 315, 319 (6th Cir. 2002). Further, “[t]hat liberty interest is impugned

when a state actor ‘stigmatize[s]’ an individual by means of ‘voluntary, public dissemination of

false information’ about the individual.” Crosby, 863 F.3d at 555 (quoting Quinn, 293 F.3d at 320).

Defamation alone, however, is not enough to invoke due process concerns. Id. “[R]ather, the

alleged damage must be tied to ‘[s]ome alteration of a right or status ‘previously recognized by

state law.’” Id. (quoting Quinn, 293 F.3d at 319).

       The Sixth Circuit has identified five factors a plaintiff must establish to show that he was

deprived of a liberty interest and thus entitled to a name-clearing hearing, the first of which is that

“[t]he stigmatizing statements must be made in connection with the plaintiff’s termination from

employment.” Quinn, 293 F.3d at 320. 7 Once this and the other factors are shown, a “public

employer deprives an employee of his liberty interest without due process, if upon request for a

name-clearing hearing, the employee is denied.” Id. (internal quotation marks and citations


       7
          The others are that the plaintiff must show that he was fired for reasons related to his
honesty and integrity and not when the employer “has alleged merely improper or inadequate
performance, incompetence, neglect of duty or malfeasance; “the stigmatizing statements or
charges must be made public”; “the plaintiff must claim that the charges made against him were
false; and “the public dissemination must have been voluntary.” Quinn, 293 F.3d at 320.



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omitted).

       This last factor is critical: “A name-clearing hearing is required only if an employer creates

a false and defamatory impression about a particular employee in connection with his termination.”

Chilingirian v. Boris, 882 F.2d 200, 205 (6th Cir. 1989) (emphasis added); see also Crosby, 863

F.3d at 555 (“[T]he stigmatizing statements must be made in conjunction with the plaintiff’s

termination from employment.” (quoting Quinn, 293 F.3d at 320)); Ludwig v. Bd. of Trustees, 123

F.3d 404, 410 (6th Cir. 1997) (“An injury to a person’s reputation, good name, honor, or integrity

constitutes the deprivation of a liberty interest when the injury occurs in connection with an

employee’s termination.”). Thus, because an actual termination is required before a name-clearing

hearing may be warranted, the Sixth Circuit and district courts within the Sixth Circuit have

recognized that the time for a name-clearing hearing is after an employee’s employment has

actually been terminated. See, e.g., Quinn, 293 F.3d at 320 (“In order to succeed on his liberty

interest claim, [plaintiff] must also prove that [defendant] improperly refused to grant him a post-

removal opportunity to refute the false charges that led to his removal[.]” (quoting Baden v. Koch,

799 F.2d 825, 830 (2d Cir. 1986)) (emphasis added)); Ferencz v. Hairston, 119 F.3d 1244, 1250

(6th Cir. 1997) (“A name-clearing hearing is required only when a nontenured public employee is

dismissed from his or her job . . . .”); Awrey v. Gilbertson, No. 10-14242-BC, 2011 WL 2312175,

at *4 (E.D. Mich. June 9, 2011) (“It is the denial of a public employee’s postremoval request for

a name-clearing hearing that violates the Due Process Clause; where there is no denial, there is no

constitutional violation.” (emphasis added)); see also Carroll v. Knox Cty. Bd. of Educ. Nos. 3:07-

cv-345, 3:08-cv-73, 2010 WL 250704, at *12 (E.D. Tenn. June 17, 2010) (holding that “an

employee’s liberty interest in a name-clearing hearing is implicated only after he is terminated”

and that, because the plaintiff failed to “show[] that she requested a name-clearing hearing post-




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removal, she waived her § 1983 claim based upon the deprivation of a liberty interest without due

process of law” (citing Quinn, 293 F.3d at 320)).

               3.      Whether the Plaintiff Was Denied a Name-Clearing Hearing

       Defendant Atchley insists that no particular process is required to accompany a name-

clearing hearing and that the plaintiff was accorded all the process to which he was due in the

course of his two pre-deprivation hearings. While it is true that a name-clearing hearing “need only

provide an opportunity to clear one’s name and need not comply with formal procedures to be

valid,” Quinn, 293 F.3d at 321 (internal quotation marks and citations omitted), the Sixth Circuit

has also recognized that “a disciplinary hearing is very different from a name-clearing hearing. A

name-clearing hearing is not a venue for an employer to determine the proper punishment, but

rather an opportunity for an individual to confront a public stigma that has already been imposed

by an employer.” Gunasekera v. Irwin, 551 F.3d 461, 469 n.5 (6th Cir. 2009). Further, the Sixth

Circuit held in Gunasekera, based on the balancing test established by the Supreme Court in

Mathews v. Eldridge, 424 U.S. 319 (1976), that a public hearing is required, and it does not appear

that either of the hearings accorded the plaintiff was public.

       Regardless, and more importantly, the plaintiff does not allege, and the record he submitted

does not suggest, that he ever requested a name-clearing hearing post-termination. This failure is

fatal to his claim. The plaintiff alleges that he made two requests for a name-clearing hearing, one

to the City Attorneys and another to the City Manager, both in June 2019, prior to his second

hearing and before he had actually been terminated. (See Doc. Nos. 1-30, 1-31.) The plaintiff

argues that he was entitled to a pre-deprivation name-clearing hearing (Doc. No. 39, at 51), but

this is not a correct statement of the law. Although the plaintiff claims that he had already had his

reputation and good name impugned by that time, the final decision of whether to terminate his

employment remained pending.



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       The City Defendants argue that the plaintiff was afforded a post-deprivation process that

he waived by failing to pursue post-deprivation remedies. This argument hits closer to the mark.

As indicated above, the plaintiff was afforded the opportunity for a full-blown, de novo,

evidentiary hearing post-termination, but he elected to not pursue this opportunity. Regarding this

hearing, both the Employee Handbook and the City Charter, attached to the Complaint, cross-

reference and adopt the procedures prescribed by the Tennessee Uniform Administrative

Procedures Act (“UAPA”) in contested cases of termination. In turn, the UAPA requires that

hearings that take place thereunder “shall be open to public observation . . . unless otherwise

provided by state or federal law.” Tenn. Code Ann. § 4-5-312(d). This hearing would have

provided the plaintiff with a name-clearing opportunity. By failing to pursue an appeal through the

post-termination procedures available to him under the UAPA—or request a “name-clearing

hearing” after his termination was officially announced—the plaintiff waived his ability to bring a

claim based on a deprivation of a liberty interest.

       In addition, the City never denied Woodard’s request for a name-clearing hearing. Instead,

the City Manager informed him that the request was simply “not appropriate at this stage,” that

stage being the due process hearing prior to a decision as to whether the plaintiff’s employment

would, in fact, be terminated. (Doc. No 1-33.) There is no indication that the plaintiff reiterated

the request or made any effort to pursue it following his termination—other than by filing this

lawsuit. In the Sixth Circuit, a “plaintiff’s failure to request a name-clearing hearing [is] fatal to

his liberty interest claim.” Quinn, 293 F.3d at 321; see also Brown v. City of Niota, 214 F.3d 718,

723 (6th Cir. 2000) (holding that the plaintiff’s liberty interest claim failed because the plaintiff

filed suit before his request for a name-clearing hearing was actually denied); Carroll, 2010 WL

250704, at *12 (holding that, because the plaintiff failed to “show[] that she requested a name-




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clearing hearing post-removal, she waived her § 1983 claim based upon the deprivation of a liberty

interest without due process of law (citing Quinn, 293 F.3d at 320)).

        Based on Quinn and Brown, this court holds that the plaintiff’s requests for a name-clearing

hearing before his employment was officially terminated were premature and that, by failing to

pursue a post-termination appeal or to reiterate the request after he was terminated, he waived his

ability to bring suit based on a violation of his liberty interest. Count Two, against all defendants,

is subject to dismissal on this basis.

        The court further notes, in the alternative, that Count Two is subject to dismissal insofar as

it is asserted against Atchley and Bowen in their individual capacity, because the plaintiff does not

allege that he requested a name-clearing hearing from either of them or that they would have been

empowered to grant such a request. 8

        C.      Count Three: First Amendment Retaliation Claim

                1.      Legal Standards

        For a public employee to establish a prima facie case of retaliation in violation of the First

Amendment, he must show:

        (1) that [he] was engaged in a constitutionally protected activity; (2) that the
        defendant’s adverse action caused [him] to suffer an injury that would likely chill
        a person of ordinary firmness from continuing to engage in that activity; and (3)
        that the adverse action was motivated at least in part as a response to the exercise
        of [his] constitutional rights.

Boulton v. Swanson, 795 F.3d 526, 530–31 (6th Cir. 2015) (quoting Leary v. Daeschner, 228 F.3d

729, 737 (6th Cir. 2000)).




        8
          It is unclear whether the plaintiff claims that Atchley’s false report that he was
impersonating an officer in October 2019, after his termination, also violated his liberty interest in
his reputation. If that is part of his claim, it fails because Atchley’s false report did not happen “in
conjunction with [Woodard’s] termination from employment.” Crosby, 863 F.3d at 555.



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       The First Amendment, among other things, guarantees both “freedom of speech” (the

“Speech Clause”) and the right “to petition the Government for a redress of grievances” (the

“Petition Clause”). U.S. Const. amend. I. The Supreme Court, in addressing retaliation claims

premised on the Speech Clause has held that, in analyzing a public employee’s First Amendment

retaliation claim, a district court must determine, first, whether the employee spoke (1) as a citizen

rather than as a public employee and (2) “on a matter of public concern.” Boulton, 795 F.3d at 531

(quoting Garcetti v. Ceballos, 547 U.S. 410, 418 (2006)). If both of those questions are answered

in the affirmative, the court must then “balance the justifications for a speech restriction against

the employee’s free speech interest” to determine whether the speech was privileged. Id. In the

Sixth Circuit, whether a public employee’s speech is protected is a question of law. Mayhew v.

Town of Smyrna, 856 F.3d 456, 464 (6th Cir. 2017).

       In Borough of Duryea v. Guarnieri, 564 U.S. 379 (2011), the Supreme Court held that the

same “framework used to govern Speech Clause claims by public employees” also applies to

Petition Clause claims:

       If a public employee petitions as an employee on a matter of purely private concern,
       the employee’s First Amendment interest must give way, as it does in speech cases.
       When a public employee petitions as a citizen on a matter of public concern, the
       employee’s First Amendment interest must be balanced against the countervailing
       interest of the government in the effective and efficient management of its internal
       affairs. If that balance favors the public employee, the employee’s First
       Amendment claim will be sustained.

Id. at 398 (emphasis added; internal citations omitted). In other words, regardless of whether a

First Amendment retaliation claim is brought under the Speech Clause or the Petition Clause, the

plaintiff must show both that (1) he acted as a private citizen rather than as an employee and (2)

his petition concerned a matter of public interest.

               2.      The Parties’ Positions

       The defendants argue that Woodard’s First Amendment retaliation claim is subject to



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dismissal simply because the “Complaint establishes that Plaintiff was speaking as an employee

on a matter of purely personal interest, not as a citizen on a matter of public concern.” (Doc. No.

26, at 19; accord Doc. No. 31, at 14 (focusing on public concern element).) 9

       In response, the plaintiff confirms that his claim is brought under the Petition Clause rather

than the Speech Clause (Doc. No. 40, at 2), and he argues that the subject of his “petitions” was a

matter of public concern, because “any allegations of public officer misconduct or police officers

failing to tell the truth are a matter of public concern” (id. at 12). He claims that he was a “public

employee and a citizen” when he sought review of the proposed termination and that his requests

“related to a matter of public concern to address not only the untrue accusations against him by

Defendant Atchley, but also to address Defendants’ de facto policy of ‘accepting’ and taking

actions based upon Defendant Atchley’s pattern of baseless and false accusations against others.”

(Doc. No. 40, at 13 (citing Doc. No. 1 ¶¶ 231–32).) He argues that the defendants caused the

disciplinary action against him to become a matter of public concern when they publicized it to

third parties and the public. (Id. at 16.) He also attempts to characterize his petitions as matters of

public concern because he “reported Defendant Atchley’s falsehoods because she was a ‘rogue

cop.’” (Id.) Finally, he asserts, as he did in the Complaint, that “Defendant Atchley has a pattern

and practice of making false complaints, and Defendants Murfreesboro, Bowen, and Tindall have

a pattern and practice of accepting, condoning, and ratifying Defendant Atchley's false

accusations.” (Id.)




       9
         The defendants also contend that they are entitled to qualified immunity insofar as the
claims are asserted against them in their individual capacity. Atchley adds that the plaintiff fails to
allege facts showing a causal connection between the plaintiff’s termination and his exercise of
protected rights. The court does not reach these questions.



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               3.      Plaintiff “Petitioned” as a Private Citizen 10

       The Supreme Court has explained that a public employee does not speak “as a citizen”

when he “make[s] statements pursuant to [his] official duties.” Garcetti, 547 U.S. at 421.

“Restricting speech that owes its existence to a public employee’s professional responsibilities

does not infringe any liberties the employee might have enjoyed as a private citizen. It simply

reflects the exercise of employer control over what the employer itself has commissioned or

created.” Id. at 421–22.

       In Lane v. Franks, 573 U.S. 228, (2014), the Court rejected an expansive reading of

Garcetti:

       Garcetti said nothing about speech that relates to public employment or concerns
       information learned in the course of public employment. . . . In other words, the
       mere fact that a citizen’s speech concerns information acquired by virtue of his
       public employment does not transform that speech into employee—rather than
       citizen—speech. The critical question under Garcetti is whether the speech at issue
       is itself ordinarily within the scope of an employee’s duties, not whether it merely
       concerns those duties.

Lane v. Franks, 573 U.S. 228, 240 (2014). The Sixth Circuit has recognized that, following Lane,

“the Garcetti exception to First Amendment protection for speech [that] ‘owes its existence to a

public employee’s professional responsibilities’ must be read narrowly as speech that an employee

made in furtherance of the ordinary responsibilities of his employment.” Boulton, 795 F.3d at 534.

Thus, in Boulton, for example, it was “axiomatic that an employee’s job responsibilities do not

include acting in the capacity of a union member, leader, or official” and, therefore, that “speech

in connection with union activities is speech ‘as a citizen’ for the purposes of the First

Amendment.” Id. at 534. The Sixth Circuit has stressed that the inquiry into whether an individual


       10
           The parties presume without discussion, for purposes of the Motions to Dismiss, that the
plaintiff’s internal appeals qualified as “petitions” subject to First Amendment protection, so the
court does as well.



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spoke as a public employee or as a private citizen “is a practical one,” requiring consideration of

both the “content and context” of the speech. Mayhew, 856 F.3d at 464 (quoting Garcetti, 547 U.S.

at 424; Fox v. Traverse City Area Pub. Sch. Bd. of Educ., 605 F.3d 345, 348 (6th Cir. 2010)).

       The court finds that the plaintiff spoke as a public employee and not as a private citizen in

this instance. To be clear, the “petitions” allegedly subject to First Amendment protection at issue

here appear to be (1) the plaintiff’s appeal to Chief Bowen of the initial disciplinary decision,

which was actually heard by the MPDRB; (2) the plaintiff’s appeal of the MPDRB’s decision to

City Manager Tindall; and (3) the plaintiff’s request for a name-clearing hearing.

       Regarding the first “petition,” the plaintiff submitted a request for a hearing to review the

disciplinary action initially taken by Chief Bowen. (Doc. No. 1-23.) To request a hearing, the

plaintiff simply checked a box on the “Disciplinary Action Report (DAR) Form” submitted to him

for his signature, stating “I disagree with the final disposition and hereby request a hearing before

the Chief and/or Deputy Chief.” (Id.) The plaintiff alleges that one of the purposes of his request

for a hearing before Bowen was

       to address Defendant Atchley's pattern and practice of trumping up false
       accusations against other MPD employees, making “mountains out of molehills,”
       “embellishing” complaints about MPD employees, telling “half-truths,” giving her
       “opinions” rather than facts, and Defendant Atchley’s spearheading excessive and
       punitive discipline against Plaintiff and other MPD employees.

(Doc. No. 1 ¶ 111.) However, the plaintiff does not actually allege that he made this purpose or

intention known to Bowen or anyone else. Instead, he simply checked a box. Then, because Bowen

refused to hear his appeal, the plaintiff “had no option but to appear before the [MPDRB].” (Id. ¶

112.) The hearing transcript itself does show that plaintiff’s counsel cross-examined Atchley and

impeached some of her statements, but it does not reflect that Atchley’s conduct in other instances

involving other officers was a topic of her examination or cross-examination or that it was raised




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during the testimony of any of the other witnesses who testified at that hearing. (Doc. No. 1-24.)

       In his second “petition,” the plaintiff’s appeal of the MPDRB’s recommendation in the

form of the plaintiff’s “Motion to Set Aside MPD’s Disciplinary Review Board’s

Recommendation to City Manager Tindall, and Request for New Hearing” (Doc. No. 1-28), the

plaintiff took issue with the pre-disciplinary investigation and proceedings before the MPDRB,

claiming that he was denied due process and that the MPDRB “ignored evidence” that he presented

in his favor, but he did not mention officer Atchley, either expressly or implicitly.

       The plaintiff thereafter notified Tindall that he was requesting a “name-clearing hearing”

to refute Atchley’s “incorrect[] accus[ations] . . . of dishonesty and violation of the MPD Code of

Conduct.” (Doc. No. 1-31; see also Doc. No. 1-30 (email notifying City attorney that he requested

name-clearing hearing.) While this “petition” does mention Atchley, the plaintiff does not indicate

that he is attempting to vindicate anyone’s rights or good name other than his own.

       All of these purported “petitions” were in response to a disciplinary action against the

plaintiff. The first two were submitted in accordance with internal procedural rules governing

disciplinary action against City employees, set forth in the excerpts of the Employee Handbook

attached to the Complaint. As such, although his requests for hearings were not submitted in the

ordinary course of his day-to-day activities, they were made in his capacity as a police officer for

the City, in accordance with established procedures. The appeals themselves are not alleged to

have been made public, and appeals of this type are not “the kind of activity engaged in by citizens

who do not work for the government.” Garcetti, 547 U.S. at 423. Accord Weisbarth v. Geauga

Park Dist., 499 F.3d 538, 544 (6th Cir. 2007) (statements made by park employee in a conversation

with an outside consultant were not made in his capacity as a private citizen where, although it

was not among his ordinary daily duties, the conversation constituted an “‘ad-hoc’ duty that arose




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in the course of [his] employment”). The plaintiff’s appeals “were directly related to [his] alleged

job responsibilities,” Handy-Clay v. City of Memphis, 695 F.3d 531, 541 (6th Cir. 2012), and the

plaintiff did not go outside the chain of command to bring them, see Fox, 605 F.3d. at 350

(“[W]hen a public employee raises complaints or concerns up the chain of command at his

workplace about his job duties, that speech is undertaken in the course of performing his job.”

(citation omitted)). Likewise, although the request for a name-clearing hearing was not, as

required, submitted after the termination decision had become final, it was nonetheless submitted

in the plaintiff’s capacity as a police officer challenging a disciplinary decision.

        The content of the petitions likewise does not lend support to a conclusion that they were

made in the plaintiff’s capacity as a private citizen. The first “petition,” as indicated above, consists

of nothing more than a Disciplinary Action Report (DAR) Form With Employee Signature, with

the City of Murfreesboro’s emblem and the MPD’s address in the caption at the top of the form.

(Doc. No. 23-1.) The plaintiff checked a box and signed this form in his capacity as “employee”

on the line for “Employee’s Signature,” below which appears his “Supervisor’s Signature.” (Id.)

His intentions aside, nothing about this form suggests that he signed it as anything other than an

employee of the City of Murfreesboro.

        The “Motion to Set Aside [the MPDRB’s] Recommendation to City Manager Tindall, and

Request for New Hearing” (Doc. No. 1-28) and the request for a name-clearing hearing similarly

address the disciplinary action against the plaintiff and his contentions that the recommended

termination was unwarranted and unsupported by the evidence and that the procedure followed

did not accord with due process. Again, they do not suggest that the plaintiff was petitioning as a

private citizen. Rather, he was contesting the proposed termination of his public employment.

        Based on the content and context of the purported petitions and the entirety of the




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circumstances alleged by the plaintiff, the court concludes that the plaintiff’s petitions were made

in his capacity as a public employee and not as a private citizen and, therefore, are not entitled to

First Amendment protection.

               4.      The Petitions Did Not Address a Matter of Public Concern

       Because the plaintiff’s purported petitions were not made in his capacity as a private

citizen, his First Amendment claim fails. Additionally and alternatively, the court also finds that

they did not concern a matter of public concern, which also dooms the claim.

       Whether a petition (or speech) addressed a matter of public concern likewise “must be

determined by the content, form, and context of a given statement, as revealed by the whole

record.” Connick v. Myers, 461 U.S. 138, 140–41 (1983). The Sixth Circuit has emphasized that

the courts should determine “the point of the speech in question.” Boulton, 795 F.3d at 534

(quoting Dambrot v. Cent. Mich. Univ., 55 F.3d 1177, 1187 (6th Cir. 1995)). In the context of

personnel disputes, the court has recognized that, “[a]lthough government effectiveness and

efficiency could generally be considered a matter of public concern, . . . assertions of incompetence

and poor management decision-making [are typically] run-of-the-mill employment disputes—

particularly when the recommended course of action would benefit the employee.” Boulton, 795

F.3d at 532 (citations omitted). On the other hand, speech that “alleges corruption and misuse of

public funds, failure to follow state law, major state policy decisions, or discrimination of some

form” has been found to address matters of public concern. Id. (internal citations omitted). More

broadly, the Supreme Court has recognized that “[s]peech involves matters of public concern when

it can be fairly considered as relating to any matter of political, social, or other concern to the

community, or when it is a subject of legitimate news interest; that is, a subject of general interest

and of value and concern to the public.” Lane, 573 U.S. at 241.

       In this case, the plaintiff broadly asserts that “any allegations of public officer misconduct



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or police officers failing to tell the truth are a matter of public concern.” (Doc. No. 40, at 12.)

While, under certain circumstances at least, allegations of police brutality, the use of excessive

force, the misuse of public funds, dishonesty while testifying in court, and other similarly

egregious allegations might qualify as matters of public concern, if every instance of police officer

misconduct were a matter of public concern, then every time a police officer is fired for cause he

would have the ability to claim that his appeal of that decision constituted a matter of public

concern. Moreover, while claims against a police officer for untruthfulness might, under some

circumstances, be matters of public concern, allegations that a police officer was untruthful during

the course of an investigation into a relatively minor incident unrelated to his treatment of any

member of the public does not rise to that level.

       The plaintiff claims that he submitted his appeals to address, not only the accusations that

he had been untruthful, “but also . . . Defendants’ de facto policy of ‘accepting’ and taking actions

based upon Defendant Atchley’s pattern of baseless and false accusations against others.” (Doc.

No. 40, at 13 (citing Doc. No. 1 ¶¶ 231–32).) While this may have been the plaintiff’s intention,

as indicated above, that intention is not anywhere reflected in the actual “petitions” to address his

grievances. The plaintiff’s secret motive is simply irrelevant; the question is whether his actual

petition concerned a matter of public concern.

       The plaintiff also claims that the matter became one of public concern because the

defendants publicized it. The defendants, however, did not publicize the plaintiff’s petitions or his

claims. They publicized the fact that he had been disciplined and the basis for the disciplinary

action. Regardless of whether such publication was warranted, it did not serve to make the

plaintiff’s First Amendment petitions themselves matters of public concern.

       Finally, the plaintiff insists that he “reported Defendant Atchley’s falsehoods because she




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was a ‘rogue cop’” and that “Defendant Atchley has a pattern and practice of making false

complaints, and Defendants Murfreesboro, Bowen, and Tindall have a pattern and practice of

accepting, condoning, and ratifying Defendant Atchley's false accusations.” (Doc. No. 40, at 16.)

The plaintiff makes the latter assertion in the Complaint as well, but, again, there is no indication

in the Complaint, the hearing transcripts, or the other exhibits that he actually made these claims

to the defendants at any time during the underlying proceedings. Thus, to the extent the plaintiff

seeks to extend First Amendment protection to the speech in which he engaged during the

disciplinary proceedings, or to characterize speech made during these proceedings as part of the

petitioning process, the effort cannot succeed. The fact that the plaintiff makes those allegations

now, in his Complaint and his Responses to the defendants’ motions, is immaterial to his retaliation

claims and cannot serve retroactively to establish that the speech and petitions at issue addressed

matters of public concern.

        In sum, the plaintiff’s petitions and speech in this case were solely directed to his direct

supervisors in response to disciplinary action taken against him while he was employed by the

MPD. They were made by him in his capacity as a public employee and they addressed solely

matters of private concern—the disciplinary action recommended to be taken against him arising

from both his conduct at a traffic stop during the course of his duties and his responses to an

investigation of that conduct. The petitions (and speech) at issue, as alleged in the Complaint and

clearly shown from the attached exhibits, are not entitled to First Amendment protection, so the

plaintiff’s First Amendment retaliation claim must be dismissed as a matter of law for failure to

state a claim for which relief may be granted.

V.      OTHER CLAIMS FOR RELIEF

        Because the court has determined that the plaintiff has failed to allege facts showing that

his constitutional rights under the First or Fourteenth Amendment have been violated, he is not



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entitled to relief on Counts One, Two, or Three of the Complaint. Moreover, his claims for

injunctive relief (Count Four) and punitive damages (Count Five) are rendered moot by the

conclusion that he has failed to make out a prima facie case of a constitutional violation. These

claims, too, are subject to dismissal, and the plaintiff’s pending Motion for Preliminary Injunction

(Doc. No. 20) is also rendered moot.

VI.     CONCLUSION

        The plaintiff presents a compelling case that he was treated unfairly and that his termination

was unwarranted, but the fairness of the decisions made by the City of Murfreesboro and Chief

Bowen is not at issue. Rather, the question is whether the defendants violated the plaintiff’s

constitutional rights under the Fourteenth and First Amendments. The record here—which is much

more extensive than is typical at this stage in the proceedings—viewed in the light most favorable

to the plaintiff, fails to suggest that they did.

        For the reasons set forth herein, the defendants’ Motions to Dismiss will be granted. The

Complaint will be dismissed in its entirety, with prejudice, and all other pending motions will be

denied as moot. An appropriate Order is filed herewith.




                                                    ____________________________________
                                                    ALETA A. TRAUGER
                                                    United States District Judge




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